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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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12      Maria Fulkerson,                         Case No. 3:15-cv-00946-AJB-JLB
13                         Plaintiff,
                                                 ORDER OF DISMISSAL WITH
14                                               PREJUDICE (FRCP 41(a)(1)(A)(ii))
                       -against-
15
                                                 (Doc. No. 11)
16      ARS National Services, Inc.,
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18                         Defendant.
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21           Pursuant to the parties joint motion, this action is DISMISSED WITH
22     PREJUDICE in its entirety, with each party bearing his or its own costs,
23     expenses and attorney's fees incurred in the prosecution or defense of their
24     respective claims and defenses.
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       IT IS SO ORDERED.
26      Dated: August 12, 2015
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